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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



In re MULTIPLAN HEALTH INSURANCE
PROVIDER LITIGATION                                  Case No. 1:24-cv-06795

                                                     MDL No. 3121

                                                     Hon. Matthew F. Kennelly
This Document Relates To:
1:24-cv-06776 (currently pending before
Hon. Thomas M. Durkin)


              UNOPPOSED MOTION FOR FINDING OF RELATEDNESS AND
                REASSIGNMENT OF POTENTIAL TAG-ALONG ACTION

       Movant Erie County Medical Center Corporation (“ECMC”), pursuant to Local Rule 40.4

of the Local Rules of the United States District Court for the Northern District of Illinois, Rule

7.2 of the Rules for Multidistrict Litigation, and Case Management Order No. 1 in this matter

(ECF No.4), moves the Court for entry of an Order:

       (i)     finding that the case styled Erie County Medical Center Corp. v. MultiPlan, Inc., et

al. Case No. 1:24-cv-6776 (N.D. Ill.) (the “ECMC case”), a potential tag-along case currently

pending before the Honorable Thomas M. Durkin, is related to the actions previously transferred

to In re: MultiPlan Health Insurance Provider Litigation, Case No. 1:24-cv-6795 (N.D. Ill.) (“the

MDL”) and

       (ii)    that the ECMC case should be reassigned to the Honorable Matthew F. Kennelly

and consolidated with the cases previously transferred to the MDL.

       In support of its motion, ECMC states:




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                                          BACKGROUND

       1.      On August 1, 2024, the United States Judicial Panel on Multidistrict Litigation

(“JPML”), pursuant to 28 U.S.C. § 1407, centralized related actions for coordinated or

consolidated pretrial proceedings in the MDL pending before this Court (the “transferee court”).

See ECF No. 4.

       2.      That same day, August 1, 2024, Plaintiff ECMC filed its Class Action Complaint

in this district and the ECMC case was assigned to the Honorable Judge Thomas M. Durkin. A

copy of the ECMC Complaint and civil cover sheet are attached to this motion as Exhibits A and

B, respectively.

       3.      In its civil cover sheet, ECMC stated that its case is related to Allegiance Health

Management, et al v. MultiPlan, Inc. et al., Case No. 24-cv-3223, (N.D. Ill), which matter has

previously been transferred to the MDL. See ECF No. 4, Schedule A.

       4.      ECMC’s counsel has conferred with counsel for the Defendants in the ECMC case

and they do not oppose this motion.

                                          ARGUMENT

       5.      The ECMC case is a potential Tag-along action to the MDL as defined by Rule

1.1 of the Rules for Multidistrict Litigation as it involves questions of fact and law common with

actions previously transferred to this MDL.

       6.      Pursuant to Rule 7.2 of the Rules for Multidistrict Litigation, 28 U.S.C. § 1407, a

party to a potential Tag-along action in the transferee court should request assignment of the

action to the Section 1407 transferee judge -- here, the Honorable Matthew F. Kennelly – in

accordance with applicable local rules.

       7.      Local Rule 40.4 of the Northern District of Illinois governs motions for relatedness



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and reassignment, permitting reassignment of cases when: (1) the cases in question are related,

and (2) it is appropriate to reassign the related cases to the judge assigned to the earliest-numbered

case.1 “The rule promotes efficient use of judicial resources by minimizing duplication of effort

on cases that have a great deal in common.” Glob. Patent Holdings, LLC v. Green Bay Packers,

Inc., 2008 WL 1848142, at *2 (N.D. Ill. Apr. 23, 2008). The ECMC case satisfies Local Rule

40.4 and should be reassigned to this Court for coordination and consolidation with the cases

previously filed and transferred to the MDL.

           A.      The Cases Satisfy the Requirements of Local Rule 40.4(a) for a Finding of
                   Relatedness

          8.      Pursuant to Local Rule 40.4(a), two or more civil cases may be related if: (1) the

    cases involve the same property; (2) the cases involve some of the same issues of fact or law;

    (3) the cases grow out of the same transaction or occurrence; or (4) in class action suits, one or

    more of the classes involved in the cases is or are the same. Only one of the above conditions

    must be met to satisfy Local Rule 40.4(a).

          9.      Here, the ECMC case and the cases previously transferred to the MDL involve

    many of the same issues of fact and law and grow out of the same occurrence. Like the cases

    previously transferred to the MDL, ECMC alleges that MultiPlan, Inc., along with many of the

    same co-defendants, conspired and combined to fix the rate of out of network health

    reimbursements to health care providers through the use of MultiPlan’s services, resulting in an

    artificially low, out-of-network reimbursement rate. The cases also assert antitrust claims under

    Section 1 of the Sherman Act, and the class alleged in the ECMC case is substantially similar if

    not identical to one or more classes alleged in cases previously transferred to the MDL. As such,

    the ECMC case satisfies Local Rule 40.4(a).


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    Note that the lead case in the MDL has been assigned a higher number than the ECMC Case.

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         B.      The ECMC Case Meets the Criteria of Local Rule 40.4(b) for Reassignment

        10.      Under Local Rule 40.4(b), a case may be reassigned to the calendar of another

judge if it is found to be related and each of the following criteria is met: (1) both cases are pending

in this Court; (2) the handling of both cases by the same judge is likely to result in a substantial

savings of judicial time and effort; (3) the earlier case has not progressed to the point where

designating a later filed case as related would be likely to delay the proceedings in the earlier case

substantially; and (4) the cases are susceptible of disposition in a single proceeding.

         11.    Here, (1) the ECMC case and the MDL are pending in this district; (2) the handling

 of the ECMC case and the MDL cases by the same judge is likely to result in a substantial savings

 of judicial time and effort given the very similar factual and legal issues, and the likelihood of

 substantially similar discovery, motion practice, class certification, and other pretrial matters

 against largely overlapping defendants; (3) the ECMC case has not progressed to a point where

 reassigning the ECMC case would substantially delay the MDL proceedings (no responsive

 pleading has been filed); and (4) the cases are susceptible of disposition in a single proceeding.

        12.      Regarding the fourth element, it is not necessary to establish that the cases will

be disposed of at the same time – only that they are susceptible of disposition at the same time.

Velocity Patent LLC, 2014 WL 1661849, at *2. The ECMC case and the cases previously

transferred to the MDL allege fundamentally similar claims and defenses that are susceptible of

disposition in a unified proceeding. Glob. Patent Holdings, LLC, 2008 WL 1848142, at *4.

Moreover, it is anticipated that a Consolidated Amended Complaint will be filed in the MDL

Action that will include the ECMC case. As such, the ECMC case satisfies the criteria of Local

Rule 40.4(b) for reassignment to this Court.




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                                       CONCLUSION

       WHEREFORE, Plaintiff Erie County Medical Center respectfully requests that this Court

enter an Order (i) determining that the ECMC case (No. 1:24-cv-06776), a potential tag-along

action, is related to the above-captioned In re MultiPlan Health Insurance Provider Litigation

(1:24-cv-06795) and (ii) that the ECMC case be reassigned to this Court’s calendar for

coordinated and consolidated proceedings with the actions previously transferred to the MDL.


Dated: August 28, 2024                     Respectfully submitted,

                                           /s/Kenneth A. Wexler
                                           Kenneth A. Wexler
                                           Justin N. Boley
                                           Melinda J. Morales
                                           WEXLER BOLEY & ELGERSMA LLP
                                           311 S. Wacker Dr., Suite 5450
                                           Chicago, IL 60606
                                           Telephone: (312) 346-2222
                                           kaw@wbe-llp.com
                                           jnb@wbe-llp.com
                                           mjm@wbe-llp.com

                                           Daniel E. Gustafson
                                           Daniel C. Hedlund
                                           Amanda M. Williams
                                           Kaitlyn L. Dennis
                                           GUSTAFSON GLUEK PLLC
                                           120 South Sixth Street, Suite 2600
                                           Minneapolis, MN 55402
                                           Telephone: (612) 333-8844
                                           dgustafson@gustafsongluek.com
                                           dhedlund@gustafsongluek.com
                                           awilliams@gustafsongluek.com
                                           kdennis@gustafsongluek.com

                                           Dianne M. Nast
                                           Daniel N. Gallucci
                                           Michael S. Tarringer
                                           Michele S. Burkholder
                                           NASTLAW LLC
                                           1101 Market Street, Suite 2801
                                           Philadelphia, PA 19107

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                                  Tel: (215) 923-9300
                                  dnast@nastlaw.com
                                  dgallucci@nastlaw.com
                                  mtarringer@nastlaw.com
                                  mburkholder@nastlaw.com

                                  Kevin Landau
                                  Miles Greaves
                                  Evan Rosin
                                  TAUS, CEBULASH & LANDAU, LLP
                                  123 Williams St., Suite 1900A
                                  New York, NY 10038
                                  Telephone: (646) 873-7654
                                  klandau@tcllaw.com
                                  atamoshunas@tcllaw.com
                                  mgreaves@tcllaw.com

                                  Simon Bahne Paris
                                  Patrick Howard
                                  SALTZ, MONGELUZZI,
                                  & BENDESKY, P.C.
                                  One Liberty Place, 52nd Floor
                                  1650 Market Street
                                  Philadelphia, PA 19103
                                  Tel:(215) 575-3986
                                  sparis@smbb.com
                                  phoward@smbb.com

                                  David M. Cialkowski (IL Bar #6255747)
                                  ZIMMERMAN REED LLP
                                  1100 IDS Center
                                  80 S. 8th St.
                                  Minneapolis, MN 55402
                                  Tel: (612) 341-0400
                                  david.cialkowski@zimmreed.com

                                  Arthur N. Bailey
                                  Marco Cercone
                                  RUPP PFALZGRAF, LLC
                                  1600 Liberty Building
                                  424 Main Street
                                  Buffalo, NY 14202
                                  Telephone: (716) 854-3400
                                  bailey@RuppPfalzgraf.com
                                  cercone@RuppPfalzgraf.com
                                  Attorneys for Plaintiff


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